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                                       INSTRUCTION NO. 1




Members of the Jury;

        Now that you have heard all of the evidence that is to be received in this trial and each of

the arguments of cotmsel it becomes my duty to give you the fmal instructions of the Court as to

the law that is applicable to this case. You should use these instructions to guide you in your

decisions.


        All of the instructions of law given to you by the Court - those given to you at the

beginning of the trial, those given to you during the trial, and these fmal instructions - must

guide and govern your deliberations.

        It is your duty as jurors to follow the law as stated in all of tlie instructions of the Court

and to apply these rules of law to the facts as you find them to be from the evidence received

during the trial.

        Cotmsel have quite properly referred to some of the applicable rules of law in their

closing arguments to you. If, however, any difference appears to you between the law as stated

by coimsel and that as stated by the Cotui in these instructions, you, of course, are to be

governed by the instructions given to you by the Court.

        You are not to single out any one instruction aione as stating the law, but must consider

the instructions as a whole in reaching your decisions.

        Neither are you to be concerned with the wisdom of any rule of law stated by the Court.

Regardless of any opinion you may have as lo what the law ought to be, it would be a violation

of your sworn duty lo base any part of your verdict upon £iny other view or opinion of the law

than that given in these instructions of the Court just as it would be a violation of your swom

duty, as the judges of the facts, to base your verdict upon anjthing but the evidence received in
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